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5HWDLQHG Counsel Appeal

RE: Countryman-Roswurm v. Wichita State University et al.
District Court Case No.:            21-cv-02489-DDC-ADM
Notice of Appeal filed by: Defendant Richard Muma
Fee Status:                         Paid

       The following documents are for the parties in connection with the Notice of Appeal:
Notice of Appeal and Copy of the Docket Sheet.

        5(7$,1(' Counsel for the appellant is instructed to download the “,QLWLDO$SSHDO
'RFXPHQWVDQG,QVWUXFWLRQV” for this appeal from www.ca10.uscourts.gov. In addition,
counsel will need to download the “Designation of Record” form from the Tenth Circuit
website. Please follow the instructions for Transcript Order Form (for Appellant only) and
Docketing Statement (for Appellant only) regarding Counsel’s responsibility for compliance.
For specific requirements concerning transcripts, records on appeal, briefs, and appendices to
briefs, please refer to the Federal Rules of Appellate Procedure and the Rules of the Tenth
Circuit Court of Appeals. Rules of the Tenth Circuit are available at www.ca10.uscourts.gov.

      If you have any questions, please contact the Office of the Clerk of the U.S. Court of
Appeals in Denver, Colorado at (303)844-3157.

                                                                         Sincerely,
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                                                                             s/ M. Stamper
                                                                         By: _______________________
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Cc: Clerk, U.S. Court of Appeals
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